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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )
                                                )                  8:14CR311
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
JOSE J. SOLORZANO-FARIAS,                       )
                                                )
                      Defendant.                )
       This matter is before the court on the motion for an extension of time by defendant Jose
J. Solorzano-Farias (Solorzano-Farias) (Filing No. 24). Solorzano-Farias seeks an additional
thirty days in which to file pretrial motions in accordance with the progression order. Solorzano-
Farias has filed an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act. Solorzano-Farias' counsel represents that government's counsel has no objection to the
motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Solorzano-Farias' motion for an extension of time (Filing No. 24) is granted.
Solorzano-Farias is given until on or before December 15, 2014, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between November
7, 2014, and December 15, 2014, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 7th day of November, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
